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                                              04/15/98 Page 1 of 7 Page ID #:9639
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  1 II
                                                                     rAP     \.,7.1)
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  211
           J. Paul Gignac, CSB 125676
           Mikal J. Apenes, CSB 176229
                                                                  ~vr
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           831 State Street
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  10       Attorneys for Plaintiffs
  11

  12
                                        UNITED STATES DISTRICT COURT
  13
                                      CENTRAL DiSTRICT OF CALIFORNIA
  14
                                                WESTERN DIVISION
  15.
  16;
       I   LAWRENCE O' CONNOR, et al. ,                 )   Case No. 97-1554 ABC (RCx)
  171  I
                                                        )
       i                          Plaintiffs,           )   ~LASS   ACTION
  18i                                                   )
       I              v.                                )   PLAINTIFFS' NOTICE OF MOTION
  19                                                    )   AND MOTION FOR CLASS
           BOEING NORTH AMERICAN, INC. , et al. ,       )   CERTIFICATION
 20                                                     )
                                  Defendants.           )   Date: July 13, 1998
 21                                                     )   Time: 9:30 a.m.
                                                        )   Place: Courtroom of the Honorable
 22                                                     )          Audrey B. Collins
                                                        )
 23                                                     )
                                                        )
 24                                                     )
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           02262.00 I - 42496
Case 2:97-cv-01554-JAK-RC Document 85 ,..Filed 04/15/98 Page 2 of 7 Page ID #:9640
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  111   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
  2                PLEASE TAKE NOTICE that on July 13, 1998 at 9:30a.m., or as soon thereafter as this
  3     matter may be heard by and before the Honorable Audrey B. Collins, in Courtroom 690 of this
  4     United States District Court, located at the Edward R. Roybal Center & Federal Building, 225 East
  5     Temple Street, Los Angeles, California, plaintiffs Lawrence O' Connor, Margaret O' Connor,
  6     Robert Grandinetti, Donald Reed, William Rueger, Mary Jane Vroman, Harold Samuels and Joyce
  7     Samuels (collectively, "the Representative Plaintiffs") shall move this Court, pursuant to Rule 23
  8     (a) and (b) ofthe Federal Rules of Civil Procedure, for an order:
  9                (1)       certifying, as to the first through fifth claims for relief alleged in the Fourth
 1Oil   Amended Complaint on file in this action, a plaintiff class ("Class I") defined as follows: "All
 11     persons: (a) who presently reside or work in the Contamination Area 1 or who, at any time since
 12     1946, have resided or worked in the Contamination Area; and (b) who have not been diagnosed
 13     with a type of cancer or other serious illness or disease 2 which may be attributed to exposure to the
 14     radioactive contaminants and/or hazardous, non-radioactive substances released from the
 1511   Rocketdyne Facilities"; 3
 16                (2)       certifying, as to the tenth through nineteenth claims for relief alleged in the Fourth
 17     Amended Complaint on file in this action, a plaintiff class ("Class II") defined as follows : "All
 18     persons who own real property located within the Contamination Area";
 19                (3)       certifying, as to the twentieth and twenty-first claims for relief alleged in the Fourth
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 2111         The Contamination Area consists of a geographic region within the greater San Fernando and
          Simi Valley area through which radioactive contaminants and/or hazardous, non-radioactive
 2211     substances released from the Rocketdyne Facilities were dispersed by means of air currents,
          surface water runoff, and subsurface groundwater. The boundaries of the Contamination Area are
 2311     described in the toxic dispersion maps prepared by Plaintiffs' experts and filed concurrently
          herewith.
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               2
              The types of cancer or other serious illness or disease which may be attributed to the
 25       radioactive contaminants and/or hazardous, non-radioactive substances released from the
          Rocketdyne Facilities are set forth in the concurrently-filed Declaration ofDr. VeraS. Byers.
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               3
              "The Rocketdyne Facilities" refer collectively to: the Rocketdyne Division Santa Susana
 27       Field Laboratory located in Simi Hills, California; the Atomics International facility located on
          Victory Boulevard in Canoga Park, California; the Atomics International facility located on the
 28       9000 block of DeSoto Avenue in the San Fernando Valley; and the Hughes Aircraft facility
          located on Fallbrook Avenue in the San Fernando Valley.

        02262.00 I - 42496                                       1
Case 2:97-cv-01554-JAK-RC Document 85 Filed 04/15/98 Page 3 of 7 Page ID #:9641
                                                            J'   '




  1       Amended Complaint on file in this action, a plaintiff class ("Class III") defined as follows: "All

  2       persons who presently reside or work in the Contamination Area and/or who own real property

  3       located within the Contamination Area";

  4                   (4)       excluding from Class I, any present or former employees ofDefendants;

  5i  I
                      (5)       excluding from Class II and Class III, Defendants, their parents, subsidiaries,

  6       divisions and affiliates;

  7                   (6)       certifying Harold Samuels and Joyce Samuels as the representatives of Class I;

  8                   (7)       certifying Lawrence O'Connor, Margaret O'Connor, Robert Grandinetti, Donald

  9       .Reed, William Rueger and Mary Jane Vroman as the representatives of Class II and Class III; and

 10                   (8)       appointing A. Barry Cappello and J. Paul Gignac, of the law firm of Cappello &

 n    I
          McCann LLP, as Lead Class Counsel and Tina B. Nieves and Hector G. Gancedo, of the law firm

 d        of Gancedo & Nieves LLP, as Class CounseL

 13                   This motion is brought on the grounds that this action properly may be certified as a class

 14       action under Rule 23(a) of the Federal Rules of Civil Procedure in that: (a) Class I, Class II and
 15       Class III are each so numerous that joinder of all members of each respective class in this action is

 16       impracticable; (b) the claims of the Representative Plaintiffs are typical of the claims of each

 17       member of the respective class(es) which they seek to represent; (c) there are questions oflaw and

 18       fact which are common to the members of each respective class; and (d) the Representative

 19       Plaintiffs will fairly and adequately represent and protect the interests of the respective class(es)

 20       which they are appointed to represent.

 21                   This motion is brought on the further grounds that Class I properly may be certified as a

 22       class under Rule 23(b)(2) ofthe Federal Rules of Civil Procedure in that: (a) Defendants have
 23       acted and refused to act on grounds that are generally applicable to the members of Class I, thereby
 24!      making appropriate final injunctive relief in the form of a comprehensive, court-supervised
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 251      program of medical monitoring; and (b) Defendants have acted on grounds that are generally
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      1



          applicable to the members of Class I, thereby making appropriate final declaratory relief with
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 271      respect to Class I as a whole.
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Case 2:97-cv-01554-JAK-RC Document 85 Filed 04/15/98 Page 4 of 7 Page ID #:9642



  1               This motion is brought on the additional grounds that Class II and Class III properly may
  2   be certified as classes under Rule 23(b)(3) ofthe Federal Rules of Civil Procedure in that: (a) the
  3   questions oflaw and fact common to the members of Class II and Class III, respectively,
  4   predominate over the questions of law and fact, if any, which affect only individual members of
  5   Class II or Class III, respectively; and (b) a class action is superior to any other available methods
  6   for the fair and efficient adjudication of the tenth through twenty-first claims for relief asserted in
  7   this action.
  8               As an alternative to certification under Rule 23 (b)(2) or (b)(3) of the Federal Rules of
  9   Civil Procedure, and only if the Court determines that the proposed classes may not be certified
 10   thereunder, the Representative Plaintiffs request that the Court enter an order, pursuant to Rule
 11   23(c)(4) ofthe Federal Rules of Civil Procedure, permitting this action to be maintained as a class
 12   action with respect to the following issues: (1) the liability of Defendants to the members of Class
 13   I on the first through fifth claims for relief in the Fourth Amended Complaint; (2) the entitlement

 14   ofthe members of Class I to the implementation of a comprehensive, court-supervised program of
 15   medical monitoring; (3) the nature and extent of the medical monitoring program to which the
 16   members of Class I are entitled; (4) the entitlement of the members of Class I to the declaratory
 17   relief requested in the Fourth Amended Complaint; (5) the liability of Defendants to the members
 18   of Class II on the tenth through nineteenth claims for relief in the Fourth Amended Complaint; (6)
 19   the entitlement of the members of Class II to the mandatory injunctive relief requested in the
 20   Fourth Amended Complaint; (7) the liability of Defendants to the members of Class III on the
 21   twentieth and twenty-first claims for relief in the Fourth Amended Complaint; and (8) the
 22   entitlement ofthe members of Class III to the mandatory injunctive relief requested in the Fourth
 23   Amended Complaint.
 24               This motion is based upon this Notice, the Memorandum of Points and Authorities filed in
 25   support thereof, the expert witness and other declarations filed herewith as well as the exhibits
 26   thereto, the pleadings and records on file in this action, of which the Court is requested to take
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 28   Ill


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Case 2:97-cv-01554-JAK-RC Document 85 Filed 04/15/98 Page 5 of 7 Page ID #:9643



  1    judicial notice pursuant to Rule 201 of the Federal Rules of Evidence, and such additional oral

  2    argument and documentary evidence as may be presented at the hearing on this motion.

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  411 Dated: April 1'1,.11'998                              CAPPELLO & McCANN LLP
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Case 2:97-cv-01554-JAK-RC Document 85 Filed 04/15/98
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                                                           •

  1                                 Lawrence O' Connor v. Boeing North American, Inc.

  2                                          Case No. CV 97-1554 ABC (RCx)

  3                                               PROOF OF SERVICE
  4                          STATE OF CALIFORNIA, COUNTY OF SANTA BARBARA

  5            I am employed in the County of Santa Barbara, State of California. I am over the age of 18
        and not a party to the within action; my business address is 831 State Street, Santa Barbara,
  6     California 931 01.

  7          On April I ~ 1998, I served the foregoing document described as PLAINTIFFS'
        NOTICE OF MOTION AND MOTION FOR CLASS CERTIFICATION on the interested
  8     parties in this action

  9
        0          by placing    D the original IRJ   a true copy thereof enclosed in a sealed envelope addressed
 101               as follows:

 1111              John A. Reding, Esq.
                   William W. Schofield, Esq.
 1211              Barry E. Endick, Esq.
                   PAUL, HASTINGS, JANOFSKY & WALKER LLP
 1311              345 California Street, Twenty-Ninth Floor
                   San Francisco, CA 94104-2635
 14

 15     0          by California Overnight. I am readily familiar with the firm ' s practice of collection and
                   processing correspondence on the same day with this courier service, for overnight
                   delivery. The delivery fees are provided for in accordance with this firm's ordinary
 16                business practices.
 17
        0          by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the
                   attached mailing list.
 18
                   See attached Mailing List.
 19

 20     0          by U. S. Mail. I am readily familiar with the firm ' s practice of collection and processing
                   correspondence on the same day with postage thereon fully prepaid at Santa Barbara,
                   California, in the ordinary course of business.
 21

 22
 23
        0          (FEDERAL) I declare that I am employed in the office of a member of the bar of this court
                   at whose direction the service was made.

 2411              Executed at Santa Barbara, California, on April I~ 1998.

 25
                       Diana G. Hirth                           0   L-~ G,        <   l Uazt/l
 26                TYPE OR PRINT NAME                                    SIGNATURE
 27

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Case 2:97-cv-01554-JAK-RC Document 85 -Filed 04/15/98 Page 7 of 7 Page ID #:9645



  1                                   MAILING LIST
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  5
          W. Toliver Besson, Esq.
  6,      RobertS. Span, Esq.
          PAUL, HASTINGS, JANOFSKY & WALKER LLP
  71      1299 Ocean A venue, Fifth Floor
          Santa Monica, CA 90401-1078
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